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                           United States District Court
                                     for the
                           Southern District of Florida

  Andre Chapman, representative of     )
  Estate of Darren Rainey, et al.      )
  Plaintiffs,                          )
                                       )
                                         Consolidated Action Case No. 14-
  v.                                   )
                                         23323-Civ-Scola (Orig. Case No. 14-
                                       )
                                         24140-Civ-Scola)
  Florida Department of Corrections,   )
  Corizon, LLC, Roland Clarke, and     )
  Cornelius Thompson, and Jerry        )
  Cummings, Defendants.
                          Order Scheduling Mediation
        The mediation conference in this matter will be held with H.T. Smith on
  March 2, 2017. The mediator and the parties have agreed to this date. It may
  not be rescheduled without leave of the Court.
        The Court reminds the parties that the Mediation Report is due within
  seven days following the mediation conference. If the mediator fails to file a
  Mediation Report within seven days following the mediation conference, lead
  counsel must file a Mediation Report within 14 days after the mediation
  conference.
        Done and ordered, at Miami, Florida, on November 30, 2016.


                                            ________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
